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                       IN T H E U N IT ED STA TED DISTR IC T C O UR T
                           SO U TH ERN D ISTR ICT O F FL O R ID A
                                       M IA M I DIV ISIO N

                                 CA SE N O .:1:15-cv-21856-U U


 ENRIQUE GONZALEZ
 and othersim ilarly situated individuals,

        Plaintffi


 RIC H A RD & R ICE CO N STR U CTIO N
 CO M PA N Y,IN C .,a Florida Profit
 Corporation,M U IG A Y C .R ICE and
 GAETAN F.RICHARD,individually,

        Defendants.

                  O RD ER APPR O V IN G SETTLEM ENT AN D EN TRY O F
                            DISM ISSA L W ITH PR EJU DIC E
        H aving review ed the Parties' Settlem ent A greem ent, it appears to the Court that due

 cause existsto approvesettlementand dismissthe casewithprejudice,with theCourtto retain
 jurisdictiontoenforcethetel'
                            m softheSettlementAgreement.And therefore,itis:
        ORDERED,and ADJUDG ED thatthe Settlem entAgreement is hereby APPROVED

 by the Court and this case is D ISM ISSED W ITH PR EJU D ICE w ith the Court to retain

 jurisdictiontoenforcethetermsoftheSettlementAgreement.

        DONE AND ORDERED atMiami,Florida,this lZ dayof                                 .       ,




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                                             UN ITED STA TES D ISTR ICT JU DG E

 cc: A llCounselofRecord
